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RANDY ]OE HOWARD- #04687580
PLA|NT|FF PRO-SE

5-17Cv0295~£

CASE NO.

 

MARSHA MCLANE, EXECUT|VE D|RECTOR
DEFENDANT

MANNY FERNANDEZ V|CE PRES|DENT OF
CORRECT CARE RECOVERY SOLUT|ONS
DEFENDANT

T|M BUDS- lNTER|M FACIL|TY ADM|N|STRATOR
DEFENDANT

RAY PEREZ
DEFENDANT

TIFF|NANY MAYBANK- MANAGER
DEFENDANT

M|CHAEL SEARCY
DEFENDANT

 

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l. PREV|CUS LAWSU|TS:

A. Have you filed any other lawsuit in state or federal court relating to your imprisonment?
___ YES MQ
B. lf your answer to ”A” is ”yes, ”describe each lawsuit in space below. (If there is more than
one lawsuit, describe the additional lawsuits on another piece of paper, giving the same
lnformation.)
1. Approximate date of filing |awsuit:
. Parties to previous lawsuit:
Plaintiff(s):
Defendant(s)
. Court: (lf federa|, name the district; if state, name the County.)

 

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. Cause number:
. Name of judge to whom case was assigned.
. Disposition: (Was the case dismissed, appealed, still pending?)

 

 

 

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. Approximate date of disposition

 

PLACE OF PRESENT CONF|NEN|ENT: TEXAS ClVlL COl\/ll\/|ITMENT CENTER

EXHAUST|ON OF GR|EVANCE PROCEDURES:
Have you exhausted all steps of the institutional grievance procedure? X_YES NO__
Attach a copy of your final step of the grievance procedure with the response supplied
by the intuition.

PART|ES TO THIS SU|T:

Name and address of P|aintiff: Randv Howard, #04687580, Texas Civil Commitment, 2600 S.
Sunset Avenue, Litt|efie|d, Texas 79339-4809.

Fu|l name of each defendant, his official position, his place of employment, and his full mailing
address.

Defendant# 1: l\/|arsha l\/chane Executive Director, Texas Civil Commitment Office,

4646 W. Howard Lane, Bui|ding 2, Suite 350, Austin, Texas 78711.

Briefly describe the act(s) or omission(s) of this defendant, which you claimed harmed you.
She denied my Constitutiona| Rights as a United States citizen! Knowing about the
l\/lemorandum, and causing me severe mental pain and treating me as a banished citizen.

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Defendant #2: Tim Buds, Adm. Texas Civil Commitment Center, 2600 S. Sunset Avenue,
Littlefie|dc Texas 79339.

Briefly describe the act(s) or omission(s) of this defendant, which claimed harmed you.
Lied per his ”l\/|emorandum and his` signature.

Defendant #3: l\/lannv Fernandez Vice President of Correct Care Recovery Solutions,
1983 |\/|urfreesboro, Suite 500, Nashville, TN 37217.

Briefly describe the act(s) or omission(s) of this defendant, which claimed harmed you.
He denied my Constitutional Rights as a United States Citizen, knowing about the
l\/|emorandum.

Defendant #4 Tiffinanv Mavbank, Texas Civil Commitment Office, Case Manager, 4616 W.
Howard Lane, Building 2, Suite 350, Austin, Texas 78711.

Briefly describe the act(s) or omission(s) of this defendant, which claimed harmed you.
Denial of my Constitutional and Civil Rights.

Defendant #5 Ray Perez, Texas Civil Commitment Office, Case l\/lanager, 4646 W. Howard,
Building 2, Suite 350, Austin, Texas 78711.

Briefly describe the act(s) or omission(s) of this defendant, which claimed harmed you.
Forces me to work 3 hours for |-D and denied my Constitutional Rights.

Defendants #6: l\/|ichael Searcv, Operations Specialist, Texas Civil Commitment Office,
4818 Howard Lane, Building 2, Suite 350, Austin, Texas 78711

Briefly describe the actlsl or omissionlsl of this defendantc which claimed harmed you

Threatening me to work for lD & Denial of Constitutional Rights, Cause severe mental anguish.

 

V. STATEMENT OF CLAIM:

State here in a short and plain statement the facts of your case, that is, what happened,
where did it happen, when did it happen, and who was involved. Describe how §ac_h
defendant is involved. You need not give any legal arguments or cite any cases or statutes. |f
you intend to allege a number of and set forth each claim in a separate paragraph. Attach
extra pages if necessary, but remember the complaint must be stated briefly and concise|y.
lF YOU VlOLATE TH|S RULE, THE COURT MAY STR|KE YOUR COMPLA|NT.

18 February 2016, l sent off an application for ballot by mail to Lamb County Election
Administrator, l requested a copy of the application. (See Exhibit 1, 1pg.).

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15 April 2016, | received a voting card through the United States |\/|ail. (See Exhibit 2, Zpg).

l was advised that l could vote by Tim Buds on October 10, 2016, by posting a l\/lemordum
stating l could vote ”DISABLED" per Security of State. (See Exhibit 3, 1pg).

17 November 2016, my ballot by mail was ”denied/declined” through a letter l received
stating my Ballot was rejected. (See Exhibit 4, Zpg).

27 November 2016, | written a Grievance regarding my ballot by mail being rejected.
(See Exhibit 5, 1pg).

22 November 2016 & January 11, 2017 l sent two letters to ludge Steve Busby this judge is on
the Voting board. | tried to attempt to find out why my Constitutional Rights as a United States
Citizen where denied do to negligence; as well the oversight of all the defendants listed on page
1, 2, 3, 4. (See Exhibit 6, 3pg).

31 January 2017, | sent a letter to, "STATE COl\/|l\/|lSSlON ON JUDlClAL CONDUCT." l received a
response and they sent the letter that | sent them with their stamp on right hand corner.

(See Exhibit 7, pg. 2)

20 I\/larch 2017, l put in a Grievance for not responding to the first Grievance 27 November
2016. No response to both Grievance. (See Exhibit 8, 1 pg.)

l wrote a letter to Disability Rights & Texas l ask for their help. 22 November 2017, l received a
letter with attachments of two Grievance. (See Exhibit 9, 3pg).

6 December 2016, The Houston Chronicle written an article in their newspaper, regarding:
"CFFlCES LEVEE OFFENDERS ELECT|ON BALLOTS UNCOUNTED.” (SEE Exhibit 10, 8pg).

1 l\/|ay 2015, l was release from TDCJ Prison. Discharged. (See Exhibit 11, 1pg).

 

Vl. REL|EF:

State briefly exact|y, what you want the court to do for you. Make no legal arguments. Cite
no cases or statutes.

To advise defendant of my rights of a United States Citizen whom has. Serve anv penalties & it
must be enforced.

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A. State in compliant form, all names you have ever used or been known by including any
and all aliases.
Randv Joe Howard.

B. List all TDCJ-ClD identification numbers you have ever been assigned and all other state or
federal prison or FB| numbers ever assigned to you.
#784323. And #1760529.

Vl||. SANCT|ONS:

A. Have you been sanctioned by any court as a result of any lawsuit you have filed?
_vEs _)g_No

B. lf your answer is "yes," give the following information for every lawsuit in which sanctions
were imposed. (|f more than one, use another piece of paper and answer the same
questions.)

Court that imposed sanctions (if federal, give the district and division): M

Case number: M

Approximate date sanctions were imposed:M

Have the sanctions been lifted or otherwise satisfied? _YES MQ

P!*‘!"t‘

C. Has the court ever warned you that sanctions could be imposed? ___YES X NO

D. lf your answer is "yes," give the following information for ever lawsuit in which a warning
Was issued.
(|f more than one, use another piece of paper and answer the same questions.)

1. Court that issued warning (if federal, give the district and division):

2. Case number:

3. Approximate date warning was issued:

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(Signature of Plaintiff)

 

 

 

 

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PLA|NT|FF'S DECLARATIONS:

1. l declare under penalty of perjury all presented in this complaint and attachment thereto are
true and correct.

2. l understand, ifl am released or transferred, it is my responsibility to keep the court
informed of my current mailing address and failure to do so may result in the dismissal of this
|awsuit.

3. l understand | must exhaust all available administrative remedies prior to filing this lawsuit,

4. l understand l am prohibited from bringing an in forma pauperis lawsuit ifl have brought
three or more civil actions or appeals (from a judgment in a civil action) in a court of the United
States while incarcerated or detained in any facility, which lawsuits were dismissed on the
ground they were frivolous, malicious, or failed to state a claim upon which relief may be
granted, unless | am under imminent danger of serious physical injury.

5. | understand even if | am allowed to proceed without prepayment of costs, l am responsible
for the entire filing fee and coasts assessed by court, which shall be deducted in accordance
with the law from my inmate trust account by my custodian until the filing fee is paid.

Signed this 25 day of d §@¢;MZQQQ ZZ ,

(DaV) ()l\/|onth (Year)

 

 

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(Signature of Plaintiff)

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EXH|B|T 1

 

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EXH|B|T 2

 

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(eos) 385-4222 Ext. 230 1_800_2§2%6§®’657&§§ ~* -

 

100 6th Dr., Room 105
Litt|elie|d, Texas 79339

  

RETURN SERV|CE REQUESTED

 

   

Name and Malllng Addren (Nnmbm y direction dc como)

RANDY J HOWARD
2600 SOUTH SUNSET AVENUE
LITTLEFIELD, TX 79339

 

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Note: 'l`he requirement to show photo ID is under reyiew and may change. Visit www.votetexas.gov, or contact the Secretary of
State’s office or your local voter registrar for the most updated information on the voter ID law.

A voter must show one of the following forms of photo ID before the voter may be accepted for voting in person: driver’s license, election
ID certificate, personal ID card, or handgun license issued by the TX Department of Public Safety; U.S. military ID card that contains the
person’s photograph; U.S. citizenship certificate that contains the person’s photograph; or a U.S. passport.

The above ID must be current, or if expired, then it must have expired no more than,60 days before it`is presented at the polling place.

Contact the Secretary of State or your local voter registrar for information concerning exceptions to the photo ID requirement for certain
voters With disabilities, voters with religious objections to being photographed, and voters affected by certain natural disasters.

If you have moved or plan to move, visit www.votetexas.gov or contact your local voter registrar to get information on how to keep your" '
voter registration active and what special procedures may be available to you.

lf any information on this certificate changes or is incorrect, correct the information in the space provided, sign below, and return this
certificate to the voter registrar

Nota: El requisite de mostrar una identificacién con fotografia esta bajo revision y puede cambiar. Visite nuestra pagina de internet
www.votetexas.gov/es, o contacte a la Oficina dela Secretaria de Estado, o a su oiicina local del registrador de votantes para obtener
informacii’)n mas actualizada.

El votante debe mostrar una de las siguientes fonnas de identificacion con fotografia antes de ser aceptado/a para votar en persona: lieencia
de conducir; cédula de identificaci<')n electoral; tarjeta de identificacion personal; licencia para portar armas emitida per el Departamento de
Seguridad Pl'iblica de Texas (DPS), tarj eta de identificacic')n militar emitida por el gobiemo de los Estados Unidos que contenga la fotografia
del portador; certificado de ciudadania Estadounidense que contenga 1a fotogratia del portador; o un pasaporte de los Estados Unidos.

La identificacion debe estar vigente, o sine la esta, entonces debe haberse vencido no rnés de 60 dias antes de presentarla para calificar
come votante en el sitio electoral. Contacte a la Oficina de 1a Secretaria de Estado, o a su oheina local del registrador de votantes para

mas informacic')n con respecto a las excepciones al requisito de mostrar una identificaci<')n para votar para crertos votantes discapaeitados,
votantes con objecrones religiosas relacionadas al ser fotografiados, y votantes afectados por crertos desastres naturales.

Si usted ha cambiado de domicilio 0 planea cambiarse, visite www.votetexas.gov/es o contacte a su ofrcina local del registrador de votantes
para obtener mformacién de come mautener su registro electoral active y los procedrmrentos especiales que pueden estar drsponrbles para
usted. `

Si la informaci<')n en este certificado ha cambiado o es incorrecta, corrija la inforrnacio'n en el espacio provisto, iirme abajo, y devuelva

este certificado al registraer de votantes.
I affirm the changes made to the left are correct.
Alirmo que los cambios hechos al lado izquierdo estan correctos.

X

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EXH|B|T 3

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MEMORAND UM Texas civil cg:;rgm l¢`::;i:er

Date:

To:

From:

thtletleld, Texas 79339
Phone: 806 485 8100

OCtOb€I' 10, 201 6 www.TBudz@CorrectCareRS.com.cnm
All Residents

Tim Budz _
Interim Facility Administrator

 

RE: VOTING BYMAIL

 

This notice is meant to provide information, and does not constitute legal
advice or guidance.

Residents:

Previously, residents of this facility who consider themselves to be residents of
Lamb County and who were registered to vote in Lamb County had their absentee
ballots by mail rejected.

It is our understanding that the office of the Texas Secretary of State has now
weighed in on this issue and provided the opinion that those at this facility who are

1 registered to vote in Lamb County and who submit an application for an early
voting ballot by mail that has “Disabled” checked in Box 5 as the reason for voting
by mail should be permitted to vote by mail. It is also our understanding that
Lamb County agrees with this position.

A sample application for ballot by mail is posted with this memo, along with the
instructions from Lamb County regarding that application. The applications can
be returned to Tonya Ritchie, Lamb County Elections Administrator, 100 6th
Drive, Room 103, Littletield, TX 79339.

Residents of this facility who consider their permanent residences to be someplace
other than in Lamb County are encouraged to contact the election office of their
place of residence regarding the availability of voting by mail.

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EXHlBlT 4

Case 5:17-cv-00295-C Document 1 Filed 12/18/17 ' Page 16 of 45 Page|D 16

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November 17, 2016

NOTICE OF REJECTED BALLOT for November, 2016 General Election

Randy Howard
TX Civil Commitment Center
2600 S. Sunset Ave.
Litt|efie|d, TX. 79339
VU|D#1173393909
Pct. # 9

This is to serve as notice that your ballot for the November 8, 2016 General Election Was
rejected by the Early Voting Ballot Board and was NOT counted.

Based on the Reason for Voting by Mail that you completed in Section 5 of your

1 Application for Ballot by Mail, your ballot Was rejected pursuant to one or more of the
following statutes:

l
l
1

§82.002 Texas Election Code
§82.004 Texas Election Code
§11.02 Texas Election Code

1 Should you have any questions, feel free to contact me at:
Lamb County Early Voting Ballot Board

100 6“‘ Drive, Room #103

Littlefleld, TX 79339

Very truly yours,

Steve Busby
Presiding Judge, Early Voting Ballot Board

 

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EXHlBlT 5

 

 

 

 

 

 

 

 

 

 

 

 

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EXHlBlT 6

 

Case 5:17-cv-00295-C Document 1 Filed 12/18/17 Page 21 of 45 Page|D 21

Randy Howard #04687580
Texas Civil Commitment Center
2600 S. Sunset Avenue y
Littlefield, Texas 79339~4809

11January 2017

Presiding Judge of Lamb County
Steve Busby

Early Voting Board

1000 6“‘ Drive

Room 3

Littlefield, Texas 79339

Dear Judge:

Would you please answer this letter, l don't understand as to why my vote by mail did not count
and was rejected on the November 2016 General E|ection Ballot by mail.

Please get me to understand as to why my Constitutional Rights were in violation by rejected

Ballot by mail.
Please respond to this letter by the 25"‘ of January of 2017. This Should give you plenty of time

to respond.

Thank You,

, sz/%;CM

R nay Hoé§ard #04687580

 

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EXHlBlT 7

 

Case 5:17-cv-00295-C Document 1 Filed 12/18/17 Page 25 of 45 Page|D 25

State Commission on Judicial Conduct‘

Executive Director

Officers . .
Eric V1nson

Valerie E. Ei’tz, Chair
Douglas S. Lang, Vice Chair
Ricky A. Raven, Secretary

Members

Patti H. Johnson
Martha M. Hemandez
Diane D. Threadgill
Demetrius K. Bivins February 17, 2017

Orlinda L. Naranjo

David M. Russell

David M. Patronella

David C. Hall

Cath€rin€ N~ Wylie PERsoNAL AND CoNFIDENTIAL
Tramer J. Woytek

 

Randy Howard #046875 80
Texas Civil Commitment Center
2600 S. Sunset Avenue
Littlefield, TX 79339-4809

Dear Mr. Howard:

On February 2, 2017, the State Commission on Judicial Conduct received your
correspondence Please be advised that the Commission is only authorized to exercise
jurisdiction over allegations of misconduct against members of the Texas judiciary. Since your
correspondence does not allege any specific misconduct on the part of a Texas judge, we will be
unable to open a case or investigate your concerns. Wc are returning the information you
provided to us to maintain in your records.

We appreciate your concerns, and We are grateful for your interest in assisting us in
maintaining the high ethical standards of the Texas Judiciary.

STATE COMMISSION ON JUDICIAL CONDUCT

Enclosures

(512) 463-5533
Toll-free (877) 228-5750

P 0 Box 12265
Austin TX 78711-2265 www.scjc. texas. gov

 

 

Case 5:17-cv-OO295-C Document 1 Filed 12/18/17 Page 26 of 45 Page|D 26

Randy Howard #04687580
Texas Civil Commitment Center
2600 S. Sunset Avenue
Littlet”leld, Texas 79339-4809

ianuary 31, 2017 Reggi\_/ed by
State Commission on Judicia| t".';::j § _' a-.¢:;
Conduct v

P.O. Box 12265 State Com lSSlOr& Qr‘l

Austin, Texas 78711-2265 Judlcla' °"ducl

S.C.J.C.:

After my November 2016 General Election Ba|lot by mail was rejected | written two letters to
ludge Steve Busby since he is on the voting board. This Judge and/or his office has not written me back.

All l need is an answer to why my Constitutional Rights was violated and the ballot rejected.
l gave this Judge Steve Busby plenty of time to answer my |etter.

(Two letters are enclose to the judge.)

 

 

 

 

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EXHlBlT 8

 

 

 

 

 

 

 

 

 

Case 5:17-cv-OO295-C Document 1 Filed 12/18/17 Page 29 of 45 Page|D 29

EXHlBlT 9

 

Case 5:17-cv-OO295-C Documentl Filed12/18/17 Page 30 0f4 Pajgnelg)¥§g$g,$uit€m

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, , , , Lubbock, T)< 79424
D l S a bl l lt ts MAlN 0;§:¢§806.765.7794
((9 ToLL.rRE§ 800.315.3876
"""_ TEXAS m 806.765.0496

November 20, 2017

Mr. Randy Howard #046875 80

c/o Texas Civil Commitment Center
2600 S. Sunset Ave.

Littlefield, TX 79339-4809

Dear Mr. Howard:

Enclosed please find originals of the documents that you sent to our office. Mr. Valles is
returning them to you for your files.

If you have any questions, please do not hesitate to call our office.
Sincerely,

ZMM %fw»/»»-

Rosalinda Guerra
Legal Secretary

/rg
Enclosures

Prote<."ting and Advocating the rights of Texans with disabilities -~ br ;ause all people have dignity and Worth. DisabilityRightsTx,oaG

 

 

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nEcovEnv soLuTioiis~-' TCCC RES|DENTGR|EVANCE

 

 

Name of cSiesident: TCCC ID# b¢lé..g 75@ Date Received:
(office use on|y)
RO\OCS‘ "l‘k'C \»QOL?Cl Housing Unit: {33\ ,- b §3@ Assigned To:
Date of |nci ie_nt Occurrence: Date Grievance Submitted: Grievance#
|H… 16 -i l \ __ 62-7__ / (office use oniy)
(Grlevance must be recelvedb within 30 days) z _ 014 DUe Date:

 

 

 

Grievance is regarding: l;l Medical m Food Service ol:l Mail/Package m Account l;lBehavior Management
,
|;| Computer Lab l;| Staff m C|inical Treatment l;|Canteen/Supp|y l;| Maintenance gotham/owing

No Resident shall be retaliated against as a result of filing a grievance ' l PLEASE DO NOT ALTER FCRM
Use only this form to give a BR|EF summary of Grievance: _o_p_L[_Q - l l h l
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Signature is required R = ~:
ATrEMPT TO RESOLVE: (Completed by Division Director or Designee)
Staff Response: Date Received:
TCC Staff Signaturei l Date:
m Accepted []Not Reso|ved Resident's Signature: Date:

 

Signature of Staff Performing Face To Face:

Rsident cooperat|on required for face to face step or response will be accepted)
(|f Accepted, Resident keeps yellow copy. |f Not Resolved, Staff to forward yellow and white copy to Grievance Examiner)

 

 

FAC|LITY ADMIN|STRATOR’S RESCLUT|ON: (if not resolved at informal level)
~ Decision: [;l Upheld ij Denied Date Received:

 

 

 

 

 

Facility Administrator’s Signature: Date:
Date Returned to Resident by Grievance Examiner:

 

 

 

 

Whine: Grievance File Yellow: Resident Resolution Pink: Resident Receipt

 

Case 5:17-cv-OO295-C Document 1 Filed 12/18/17 Page 33 of 45 Page|D 33

EXHlBlT 10

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mimms wave sex onenaers' erection ballots uncounted - Houston Chronicle Pag€ l Of 8

\D Case 5:17-cv-OO295-C Document 1 Filed 12/18/17 Page 34 of 45 Page|D 34

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Officials leave sex offenders'
election ballots uncounted

Sex offenders at treatment center sue for alleged rights violations

By Mike Ward l December 6, 2016 | Updated: December 6, 2016 9:52pm

 

Photo:Steve ticnaales, Staff " l ' :` "

-http://Www.houstonchronicle.com/news/politics/texas/article/Ofiicials-leave-seX-offender.;. 12/13/201~6

 

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Case 5:17-cv-OO295-C Document 1 Filed 12/18/17 Page 35 of 45 PagelD 35

Clarence Brown

AUSTIN - Like millions of
Americans who wanted to
have their say, more than '
100 men inside a West
Texas treatment center for
sexually violent predators
registered to vote in last
month's presidential
election.

Local election oft`icials,
however, refused to count
their ballots, a decision that
attorneys say likely violates
federal and state |aws.

The tossed-out votes now
are the subject of a growing
legal tight in the small town
that once begged to get the
treatment center for the
jobs and the ~multimillion-
dollar payroll that it brought,
but now appears to be
having second thoughts ,
about the more than 200 convicted sex offenders that came with it.

store.doverpublications.eo i

 

"They didn't want us going out intot|':ieir community, so they made
us vote by mail, and now `they're denying us the right to vote at all,"

Said Claren€€ BI‘OWn, ~5_4, one of the men in the Billy Clayton Center-d `-’

    

http://Www.houstonchronicle.com/news/politics/texas/article/Officials-leave-sex-offender... 12/13/2016

umcials leave sex ottenders' election ballots uncounted - Houston Chronicle Pag€ 3 Of 3
Case 5:17-cv-OO295-C Document 1 Filed 12/18/17 Page 36 of 45 PagelD 36

whose ballots were rejected. "This place isn't supposed to be a
prison, but this run-down, bigoted little town is trying to make it one
so we can't exercise our constitutional right to vote. Even if they
don't like us, what they have done is not legal."

Brown said he and 65 _oth`er men at the center have filed a challenge
to the decision to reject their ballots by Early Voting Ballot Board
Judge Steve Busby. They said they plan to ask the U.S. Department
of Justice to investigate the case as a violation of the 1965 Voting
Rights Act, which makes it a federal crime to prevent a qualified
voter from casting a ballot.

Officials with the Texas Civil §QB§C§¢§E

Commitment Office that " ` ' "

Opel'at€’=`» the S€X Offender Get Texas Take, the Houston
DrOg"am and top elections Chronicle’s must-read political
Offl€la|$ at the Texas newsletter, sent to your inbox
Secretary of State Offi€e each weekday morning.
acknowledged the problem v

but said there is little they Email:

can do. ::l

Lamb County elections

. . TExAs Poerics
officials contend it was not _____ __ __ .

their decision and referred Abmion advocates sue
- - »_ state, contending rule on
questions to Busby. He did _ b .l dew
not return repeated phone
calls.
Perry's third meeting with
. TrumpraisesWhit¢:
Documents obtained by the __ Howiob prospects

Chronicle show the state

laws that Busby cited in
rejecting the ballots Were omaai: mem miners GoP efpossibleemail

the same ones state officials lacking

 

http://Www.houstonchronicle.com/news/politics/texas/article/Oflicials¥leave-seX-off`ender... 12/13/2016~ ~ ~ »

 

uluclals leave sex orrenaers‘ election ballots uncounted - uouston chronicle rage 4 01 5

Case 5:17-cv-OO295-C Document 1 Filed 12/18/17 Page 37 of 45 PagelD 37

 

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used to allow the men to ismbybusinmas
vote by mail: They were ' keyauy
disabled, they were confined
and could not get to a ,

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polling place to vote and lawmakemowp,obe of
that they had fully . R.ussia backing

 

discharged their prison
sentences.

"It sounds like a pretty clear

violation," said Buck Wood, an Austin lawyer and expert on Texas
elections |aw. "If they completed their sentences, they should have
been allowed to vote."

'There was grumbling'

Under Texas law, felons Who have completed their prison sentences
are entitled to vote.

State files show the fight began earlier this year when Brown and as
many as a dozen other men at the Clayton Center registered to vote
in the March primaries. County officials advised them to vote by
mail, records show, but none were counted.

"There was grumbling, and I asked the county how they could vote,
to resolve this in the future," said Marsha McLane, executive director
of the Texas Civil Commitment Oftice. "There were three options:
They could either go a polling place on Election Day or they could
bring a polling place to the center to let them vote there or they
could do it by absentee ballot."

Officials confirmed that before all the men in the state's civil-
commitment program were moved to Littletield in September 2015,

' ' 'http://www.houstonchronicle.com/news/politics/texas/article/Off`lcials-leave-sex-offender...` 12/13/2016

unlelals leave sex ottenders' election ballots uncounted - Houston Chronicle Pag€ 5 of 3

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many had voted in Houston, Austin, Dallas, Fort Worth and other
locations where they were housed in jails and halfway houses.

Because many of the men at the Littlefield facility did not have
proper identification cards to cast ballots in person, the civil
commitment agency transported the prospective voters - about 50 of
them - to a Texas Department of Public Safety office in Lubbock to
get state-approved ID cards. Each man paid the $21 cost for the
cards, McLane said.

Internal state emails show Lamb County officials in May nixed in-
person voting as an option and again urged absentee ballots to avoid
problems with local residents, including the possibility of violence.

"I will assure you that if the ballot by mail does not work, I will not
intentionally violate anyone's constitutional right to vote," County
Judge Mike DeLoach wrote in a May 24 email to McLane. "I am '
gravely concerned if you bring your residents into town to vote, it is
going to cause problems - in fact, it is not a 'maybe' or a possibility' -_
it is going to My concern is not only for the public and their safety,
but also for your facility/staff and your residents' safety; neither the
county nor the city maintain resources to provide security at polling
places."

DeLoach also noted that while 30 men wanted to vote at the time,
up to 300 eventually may want to vote in the future, a number that
could impact local election races.

As of Monday, the center housed about 240 men.
DeLoach did not return calls requesting comment.

'Disabled' option OK'd

http://www.houstonchronicle.com/news/politics/texas/article/Ochials-leave-sex-offender. . . 12/1 3/2016

 

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Case 5:17-cv-OO295-C Document 1 Filed 12/18/17 Page 39 of 45 PagelD 39
By late May, DeLoach said he had asked County Attorney Scott Sa_y
to request a legal ruling from Attorney General Ken Paxton on
whether the men could vote absentee by claiming the "disabled"
exemption. The Secretary of State's Office soon signed off on the
mail ballots for the men.

"It can reasonably be argued that a person who has been clinically _
assessed to the point where the individual civilly committed and.is
unable to leave the commitment facility without being accompanied
is disabled for purposes of voting by mail," Caroline Geppert, a staff
attorney in the Elections¢Division, wrote in a May 31 email to the civil
commitment agency. "Such an individual may credibly claim to have
a sickness or condition that prevents the person from voting in
person without the need for personal assistance."

A|icia Pierce, a spokesperson for Secretary of State Carlos Cascos,
confirmed that election officials had approved mail ballots for the
men. In a message to the agency, DeLoach said that was good
enough to resolve the issue for county officia|s. '

Then, Nov. 17, Brown and 65 other men received notice that the
ballot each had mailed was rejected by the Early Voting Ballot Board
and was not counted.. v

Three state laws were listed: Those covering disablllty, confinement
in jail and the qualifications to be a voter.

Defining coercion

Privately, several local and state officials said they disagree with the
declsion, noting that Early Ba|lot Voting Boards in most counties only
compare signatures on mail ballots to validate their authenticity, as
well as other record-keeping details, and do not disqualify ballots for
other reasons.

4 7'http://www.houstonchronicle.com/news/politics/texas/article/Officials-leave-sex-offender... 12/13/2016

 

Otticials leave sex offenders' election ballots uncounted - Houston Chronicle Page 7 of 8
Case 5:17-cv-OO295-C Document 1 Filed 12/18/17 Page 40 of 45 PagelD 40

 

The state handbook for those boards confirms that.

Ten days after the election and a day after Busby officially rejected
the ballots, Say, who serves as both the district and county attorney
in the community of 6,300 residents, asked the attorney general to
determine whether the men who voted can claim a "disabllity," a
ruling that could block future voting if that option is nixed.

If that happens, McLane said she plans to transport eligible voters
from the center to a local polling place despite the objection of local
officials. "The law appears to be clear. I don't want to get sued," she
said.

While advocates insist Texas law makes it a misdemeanor for anyone
who "influences or attempts to influence a voter not to vote or to
vote in a particular manner," state election officials said they do not
believe that law covers the Littlefield situation.

"It seems to be applicable to bribery or coercing someone to vote or
not to vote, not specifically relayed to counting the _vote," Pierce
said.

Wood disagreed.
"_Taking a person's ballot and throwing -it out is coercion,".he said.

Bill Marshall, a,Houston attorney who represents Brown and other
men at the treatment center, said the case appears to be a clear
denial of voting rights, especially since some of the men's ballots
were counted and others were not.

"The feds should go after this," he said.

http://www.houstonchronicle.com/news/politics/texas/article/Officials-leave-sex-otfender... 12/13/201_6

 

Officials leave sex offenders' election ballots uncounted - Houston Chronicle Page 5 01 5~, E~_-- -~.
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Mike Ward
Austin Bureau Chief,
Houston Chronicle

 

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~http://www.houstonchronicle.com/news/politics/texas/article/Off`lcials=leave'-sex-off`ender... 12/13/201~6'

 

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Texas Department of Criminal Justice

Huntsville, Texas 77340

To whom it may concern:

The undersigned, Director of the Texas Department of Criminal Justice, certifies that

____________.HDJ£AR.D_..RANDV JDE

 

TDCJ numberTDC 01760529 was convicted;of a felony to-wit by the District Courts of:…`

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And sentenced on the 5RD day of MAV , A.D. , 11 to 04 years confinement in the
penitentiary.

Received in TDCJ custody 01'31'2012
Released to mandatory supervision

Released to parole

Date of discharge 0§-03-2015
Remarlxs:

 

 

Per Texas Government Code. Chapter 493,030, the Social Security Administrafion has been notified of all offenders
released who were confined in a facility for a period of less than twelve consecutive months and were previously receiving
Supplemental Security lncome or Social Security Disability lnsurance benefits

Per Texas Family Code, Seotlon 85.025 (c), if a person, who is the subject of a protectlve order, ls confined or imprisoned
on the date the protective order would expire. the order is to be extended and will expire on the nisi anniversary of the date the
person is released from confinement or imprisonment

Witness my hand and seal of office this the _Z_L]'_H_ day of _F_ELRLJ_AR_Y____, _Z_D_]_§_.

WILLIAM STEPHENS ,DIRECTOR

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